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"AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

 

 

_ United States of America )
y )
Jose Guadalupe GARZA-Sanchez : S
YOB: 1988 Citizenship: Mexico Case No. + |A- Mo - O + ¥
)
)
Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of — April 02, 2019 in the county of _Hidalgo | in the
Southern District of | Texas , the defendant(s) violated:
Code Section ’ Offense Description
21 U.S.C. § 8414 Possession with Intent to Distribute cocaine
21 U.S.C. § 952 {legal Importation of cocaine —

This criminal complaint is based on these facts:
On April 02, 2019, Jose Guadalupe GARZA-Sanchez was detained attempting to enter the United States through the
Anzalduas Port of Entry with approximately 9.58 kilograms of cocaine concealed in the center console of the vehicle he

was driving.
SEE ATTACHMENT "A" :

Y¥ Continued on the attached sheet.

 
 

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on 4] 3)20/4. | ____ Edgard Reynoso, HSI TFO

Printed name and title

Sworn to before me and signed in my presence.

 

 

Date: 4/3/2019 —~S 32 9¢.6,

or } f | i 1 : -
L so Judge's signature
City and state: ~ _McAllen, Texas - U.S. Magistrate Judge Juan F, Alanis

Printed name and title
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Attachment “A”

I, Edgard Reynoso, am a Task Force Officer with United States Homeland Security Investigations
(HST) and have knowledge of the following facts. The facts related in this attachment do not reflect
the totality of information known to me or other agents/officers, merely the amount needed to
establish probable cause. I do not rely upon facts not set forth herein in reaching my conclusion
that a complaint should be issued, nor do I request that this Court rely upon any facts not set forth
herein in reviewing this attachment in support of the complaint.

1.

On April 02, 2019, Homeland Security Investigations in McAllen, Texas, (HSI McAllen)

received a request for investigative assistance from the U.S. Customs and Border Protection
(CBP) Office of Field Operations at the Anzalduas Port of Entry (POE) in Mission, Texas.
CBP Officers (CBPOs) detained Jose Guadalupe GARZA-Sanchez (hereinafter GARZA), a
citizen of Mexico and B1/B2 visa holder, while.attempting to enter the U.S. with approximately
9.58 kilograms (kg) of cocaine concealed within the center console of a 2017 Toyota Yaris
which he was driving.

During primary inbound inspection, CBP Officers (CBPOs) obtained a negative written
declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over $10,000.00.
GARZA stated that he was he was the owner of the vehicle and was going shopping in ©
McAllen, Texas. Queries on vehicle and GARZA yielded a system generated referral for
further inspection. GARZA was referred to secondary inspection.

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During secondary inspection, an x-ray exam was conducted on the vehicle and CBPOs noticed

‘anomalies within the center console. A CBP K-9 narcotics detection team conducted a free air
" inspection which resulted in a positive alert for the odor of controlled substance(s) emanating

from the center console of the vehicle.

A physical search of the vehicle CBPOs discovered 8 vacuum sealed, cellophane and tape
wrapped packages concealed inside the center console. CBPQs field tested the white powdery
substance inside the packages, which was presumptive positive for the characteristics of
cocaine. The packages of cocaine weighed approximately 9.58 kilograms.

. Homeland Security Investigations (HSI), Special Agents (SA) and Task Force Officers

responded to the Anzalduas POE to assist in the investigation. The HSI Task Force Officers
interviewed GARZA who denied knowledge of the cocaine concealed within the center
console. GARZA, has crossed the vehicle into the United States (US) multiple times and stated
that he was the only one that would drive the vehicle while in the US. During the interview,
GARZA provided several inconsistent statements.
